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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

MARQUIS FURNITURE, INC., an
Oklahoma corporation,

Plaintiff,
v. Case No. CIV-04-1604-F

MATHIS BROS. FURNITURE CoO. INC. an
Oklahoma corporation, et al

Defendants.

BROYHILL FURNITURE INDUSTRIES,
INC.,

Counter-Claimant,
V.

MARQUIS FURNITURE, INC., an
Oklahoma Corporation

Counter-Defendant,
and

GARY D. BAUGH and MARY BAUGH

Third Party Defendants.

STIPULATION OF AND REQUEST FOR DISMISSAL
OF LA-Z-BOY, INC. WITH PREJUDICE

Pursuant to F.R.Civ.P. 41(a)(2), Plaintiff, Marquis Furniture, Inc.
(“Marquis”) hereby stipulates to the dismissal with prejudice of its claims and causes of
action against La-Z-Boy, Inc. in the above styled case and requests that the Court enter an

order dismissing LA-Z-Boy, Inc. from this action with prejudice.

Stipulation of Dismissal
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/s/Eric S. Eissenstat

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Attorneys for Plaintiff Marquis Furniture, Inc.

CERTIFICATE OF SERVICE

I hereby certify that on the 26th day of August, 2008, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

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